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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 TRAVIS GUTTU ,

         Petitioner,                                                    ORDER
 v.
                                                               Case No. 21-cv-600-wmc
 CHRISTOPHER BUESGEN,

         Respondent.


        Petitioner Travis Guttu seeks a writ of habeas corpus pursuant to 28 U.S.C. § 2254.

Petitioner has neither paid the $5 filing fee nor requested leave to proceed without prepayment

of the filing fee. For this case to move forward, petitioner must pay the $5 filing fee or submit

a properly supported motion for leave to proceed without prepayment of the filing fee no later

than October 15, 2021. Any motion for leave to proceed without prepayment of the filing fee

must include a certified copy of an inmate trust fund account statement (or institutional

equivalent) for the six-month period beginning approximately March 22, 2021 through the

date of the petition, September 22, 2021.




                                            ORDER

        IT IS ORDERED that:

                  1.   Petitioner Travis Guttu may have until October 15, 2021, to pay the $5

filing fee or submit a properly supported motion for leave to proceed without prepayment of

the filing fee.
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       2.     If petitioner does not submit either the $5 payment or a motion for leave to

proceed without prepayment before October 15, 2021, I will assume that petitioner wishes to

withdraw this petition.




              Entered this 24th day of September, 2021.

                                   BY THE COURT:


                                   /s/
                                   PETER OPPENEER
                                   Magistrate Judge
